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UNITED STATES DISTRICT COURT FRU OF CSR
SOUTHERN DISTRICT OF OHIO sia MAY .
EASTERN DIVISION OMAY -3 PM Sh
US DISTR) COURT
| SSUTHERN 0.57. OHIO
UNITED STATES OF AMERICA, CASE NO. CEST. OW, COLI wa y
Plaintiff, JUDGE 93 18 cr
¥S.
JOHN R. CACARO,
Defendant.
GOVERNMENT’S PLEA AGREEMENT SUBMISSION OF

 

ELEMENTS AND PENALTIES FOR 18 U.S.C, § 1343 AND 18 U.S.C. § 1957

I. ELEMENTS OF COUNT 1: 18 U.S.C. § 1343 (Wire Fraud

The defendant devised a scheme to defraud or to obtain money or property
by materially false or fraudulent pretenses, representations, or promises (or
willfully participated in such a scheme with knowledge of its fraudulent

First:
nature);
Second:
Third: That in advancing,

The defendant acted with the intent to defraud;

furthering, or carrying out the scheme, the defendant

transmitted in interstate commerce or caused the transmission of any

writing, signal, or

sound of some kind by means of a wire, radio, or

television communication in interstate commerce; and

Fourth: These acts occurred in whole or in part within the Southern District of Ohio.

lil. PENALTIES OF COUNT 1: 18 U.S.C. § 1343 (Wire Fraud

Mandatory Minimum:

Possible Maximum:

None.

20 years in prison

$250,000 fine

3 years of supervised release
$100 special assessment
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WI. ELEMENTS OF COUNT 2: 18 U.S.C. § 1957 (Money Laundering)

First: The defendant knowingly engaged or attempted to engage in a monetary

transaction;

Second: The monetary transaction was of a value greater than $10,000;

Third: The monetary transaction involved criminally derived property;

Fourth: The criminally derived property was derived from specified unlawful
activity (i.e., wire fraud, in violation of 18 U.S.C. § 1343);

Fifth: The defendant knew that the monetary transaction involved criminally

derived property; and

Sixth: These acts occurred in whole or in part within the Southern District of Ohio.

IV. PENALTIES OF COUNT 2: 18 U.S.C. § 1957 (Money Laundering)

Mandatory Minimum:

Possible Maximum:

10 years in prison

$250,000 fine

3 years of supervised release
$100 special assessment

Respectfully submitted,

BENJAMIN C. GLASSMAN
United States Attorney

s/Jessica H. Kim

JESSICA H. KIM (87831)
Assistant United States Attorney
303 Marconi Boulevard, Suite 200
Columbus, Ohio 43215

Office: (614) 469-5715

Fax: (614) 469-5653

Email: Jessica. Kim@usdoj.gov
